                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA

                      Plaintiff
       V.                                            CASE NO.: 3:21-cr-00264-2

                                                     CHIEF JUDGE CRENSHAW, JR.
JOSHUA H. SMITH

                      Defendant


                          PETITION TO ENTER A PLEA OF GUILTY

        I, Joshua H. Smith, respectfully represent to the Court as follows:

        (1) My true full name is Joshua Hudson Smith. I was born in Fort Worth, TX and I am 45
            years old and completed 17 years of formal education.

        (2) My retained lawyer is Phillip S. Georges.

       (3) I have received a copy of the indictment and plea agreement before being called
upon to plead and have read and discussed it with my lawyer and believe and feel that I
understand every accusation made against me in the indictment and plea agreement.

       (4) I have had sufficient opportunity to discuss with my lawyer the facts and surrounding
circumstances concerning the matters mentioned in the indictment. My lawyer has counseled and
advised with me as to the nature and cause of every accusation against me. We have thoroughly
discussed the government's case against me and my potential defenses to the government's case.
My lawyer has explained each element of the crime charged to me and what the government
would offer to prove these elements beyond a reasonable doubt.

        (5) I understand that the statutory penalty for the offense with which I am charged
is,
       a, as to Count 2:
                i. not more than 5 years imprisonment,
                ii. a fine of up to $250,000.00,
               iii. a mandatory $100 special assessment, and
                iv. a term of supervised release of not more than 3 years in addition to such
                    term of imprisonment.

       (6) I have been advised that I will be sentenced to a sentence sufficient but not greater than
necessary to satisf 7 the goals of sentencing specified inl8 U.S.C. § 3553(a). One consideration



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will be Guidelines established by the United States Sentencing Commission. I understand that
these Guidelines are advisory, but that the Court must take account of the Guidelines together with
other sentencing goals. My lawyer and I have discussed the calculation of the Guidelines in my
case. My lawyer has given me an estimate of the Guidelines range that may apply in my case. I
realize that this is simply my lawyer's estimate. I understand that my advisory Guideline range
will be calculated by the United States Probation Officer who prepares the presentence report in
my case. This estimation is subject to challenge by either me or the govermment, unless prohibited
by a plea agreement. The final Guideline calculation will be made by the Court. I further
understand that I may be sentenced to a fine to be calculated through the Guidelines. No fine will
be imposed if the Judge finds me unable to pay any fine. Considered in this fine may be the amount
of financial loss to the victim or gain to me as well as the costs of any confinement or probation
supervision. The Court may also order that restitution be made to any victim of the offense. I have
a right to a review of my sentence by the United States Court of Appeals for the Sixth Circuit
unless waived in the plea agreement.

         (7) I understand that, under 18 U.S.C. § 3561(a), I am not eligible for a sentence of
probation if I receive any sentence of imprisonment at the same time on this offense or any other
offense or am convicted of a Class A or Class B felony, or the offense is one for which probation
is expressly prohibited. I have been informed that under the present federal sentencing system
there is no parole. I will receive only 54 days good time credit per year, and it will not vest until
the end of each year. I further understand that if I am sentenced to a period of supervised release
and I violate the terms of that supervised release, upon revocation I could be imprisoned again.

        (8) I understand that should this plea of guilty be accepted, I will be a convicted felon in
the eyes of the law for the rest of my life. This means, under present law that (a) I cannot vote
in Tennessee, unless my right to vote is lawfully restored, and may not be eligible to vote in
other states; (b) I cannot possess a firearm anywhere; (c) If I am presently on probation, parole,
or supervised release whether state or federal, the fact that I have been convicted may be used to
revoke my probation, parole or supervised release regardless of what sentence I receive on this
case; (d) If I am convicted of any crime in the future, whether state or federal, this conviction
may be used to increase that sentence; (e) I may have to disclose the fact that I am a convicted
felon when applying for employment and such disclosure may result in my not getting some jobs
and having difficulty in getting others. I understand that this list may not include all of the
adverse consequences of my conviction in this case.

       (9) I understand that I can plead "NOT GUILTY" to any or all offenses charged against me,
and continue to plead "NOT GUILTY", and that if I choose to plead not guilty, the Constitution
guarantees me (a) the right to a speedy and public trial by jury; (b) the right not to testify and no
implication of guilt would arise by my failure to do so; (c) the right to be presumed innocent until
such time, if ever, that the government proves my guilt beyond a reasonable doubt to the
satisfaction of a court and jury; (d) the right to see and hear all the witnesses and to cross-examine
any witness who may testify against me; (e) the right to use the power and process of the court to
compel the production of any evidence, including the attendance of any witnesses, in my favor;
and to testify in my own behalf if I choose to do so; (f) the right to have the assistance of counsel
in my defense at all stages of the proceedings; (g) if I am convicted at such trial I have the right to
appeal with a lawyer to assist me and the appeal will not cost me any money if I am indigent. I


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                                  CERTIFICATE OF COUNSEL

       The undersigned, as lawyer and counselor for Joshua H. Smith, hereby certifies as
follows:

         (1) I have read and fully explained to Joshua H. Smith all the accusations against him
in this case;

        (2) To the best of my knowledge and belief each statement set forth in the foregoing
petition is accurate and true;

        (3) In my opinion the plea of "GUILTY" as offered by Joshua H. Smith in paragraph
(12) of the foregoing petition, is voluntarily and understandingly made; and I recommend to the
Court that the plea of "GUILTY" be accepted and entered as requested in paragraph (12) of the
foregoing petition.

       Signed by mein open court in the presence of this/      day of VL %            2022.




                                              hillip S. Georges
                                             SBN: 038360
                                             2303 21St Ave. S., Suite 204
                                             Nasvhille, TN 37212
                                             Phone: 615-486-4115 x. 700
                                             Fax: 615-576-8668
                                             phil wolf )ackla« )7ers, com
                                             COUNSEL FOR DEFENDANT
                                             JOSHUA H. SMITH




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                                             ORDER

       Good cause appearing therefore from the foregoing petition of the foregoing named

defendant and the certificate of her/his counsel and for all proceedings heretofore had in this

case, it is ORDERED that the petition be granted and the defendant's plea of "GUILTY" be

accepted and entered as prayed in the petition and as recommended in the certificate of counsel.

       Done in open count thin-day of                2022.



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                                                        STATES DISTRICT JUDGE




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